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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY                                          Order Filed on July 9, 2020
      Caption in Compliance with D.N.J. LBR 9004-1(b)                 by Clerk
                                                                      U.S. Bankruptcy Court
      COLE SCHOTZ P.C.                                                District of New Jersey
      Court Plaza North
      25 Main Street
      P.O. Box 800
      Hackensack, New Jersey 07602-0800
      Michael D. Sirota, Esq. (msirota@coleschotz.com)
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      Proposed Attorneys for Debtors
      and Debtors in Possession
      In re:                                                Chapter 11

      SLT HOLDCO, INC., et al.,                             Case No. 20-18368 (MBK)

                                                            (Joint Administration Requested)
                                                1
                                     Debtors.
                                                            Hearing Date and Time:


                     ORDER REGARDING DEBTORS’ APPLICATION FOR
                    EXPEDITED CONSIDERATION OF FIRST DAY MATTERS

         The relief set forth on the following pages, numbered two (2) through six (6), is hereby
     ORDERED.




DATED: July 9, 2020
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         Upon the application (the “Application”) of SLT Holdco, Inc. and its wholly-owned

subsidiary, Sur La Table, Inc., as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”), pursuant to Rule 9013-5 of the Local Rules of the

United States Bankruptcy Court for the District of New Jersey, for expedited consideration of

first day matters, and for good cause shown; and the Court having jurisdiction to decide the

Application and the relief requested therein in accordance with 28. U.S.C. §§ 157(a)-(b) and

1334(b); and consideration of the Application and the relief requested therein being a core

proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and upon the Declaration of Jason Goldberger in Support of

Debtors’ Chapter 11 Petitions and First Day Motions, filed contemporaneously with the

Application; and the Court having found and determined that the relief sought in the Application

and granted herein is necessary to avoid immediate and irreparable harm to the Debtors and their

estates as contemplated by Bankruptcy Rule 6003, and is in the best interests of the Debtors,

their respective estates and creditors, and all parties-in-interest; and after due deliberation and

sufficient cause appearing therefor,

         IT IS HEREBY ORDERED THAT:

         1.       The Application is GRANTED as set forth herein.

         2.       The following applications and motions (collectively, the “Motions”) are

scheduled for hearing before the Honorable Michael B.Kaplan in courtroom # 8 located at




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Clarkson S. Fisher US Courthouse 402 East State Street, Trenton, NJ 08608 on the date(s) and

time(s) set forth below:

                                                                           Hearing Date and
                                    Motion
                                                                                Time
      1.   Debtors’ Application for Designation as Complex Chapter 11
           Cases [Docket No. 4]                                           7/10/20 2 12:00 p.m.

      2.   Debtors’ Motion Pursuant to Fed. R. Bankr. P. 1015(b) for
           Entry of an Order Directing Joint Administration of the
                                                                         7/10/20 @ 12:00 pm
           Debtors’ Chapter 11 Cases [Docket No. 3]

      3.   Debtors’ Application Pursuant to 28 U.S.C. § 156(c) and 11
           U.S.C. § 105(a) for Entry of an Order Authorizing the Debtor to
           Retain and Employ Omni Agent Solutions as Claims and
                                                                           7/10/20 @ 12:00 pm
           Noticing Agent Nunc Pro Tunc to the Petition Date [Docket No.
           15]

      4.   Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a) and 363 for
           Entry of Interim and Final Orders (I) Approving Cash
           Management System, (II) Continuing Use of the P-Card          7/10/20 @ 12:00 pm
           Program and (III) Authorizing the Debtors to Continue Using
           Existing Bank Accounts and Business Forms [Docket No. 19]

      5.   Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363, and
           507(a) for Interim and Final Authority to (I) Pay Certain Pre-
           Petition Wages and Reimbursable Employee Expenses, (II) Pay
           and Honor Employee Medical and Other Benefits, and (III)       7/10/20 @ 12:00 pm
           Continue Employee Benefits Programs, and for Related Relief
           [Docket No. 23]




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                                                                            Hearing Date and
                                   Motion
                                                                                 Time
      6.   Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a) and 366 for
           Interim and Final Orders (I) Approving Debtors’ Proposed
           Form of Adequate Assurance of Payment to Utility Providers,
           (II) Establishing Procedures for Determining Adequate           7/10/20 @ 12:00 pm
           Assurance of Payment for Future Utility Services, and (III)
           Prohibiting Utility Providers from Altering, Refusing, or
           Discontinuing Utility Service [Docket No. 7]

      7.   Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b),
           507(a), and 541 for Entry of an Order Authorizing, But Not
           Directing, the Debtors to Pay Certain Pre-Petition Taxes and    7/10/20 @ 12:00 pm
           Fees [Docket No. 22]

      8.   Debtor’s Motion for Interim and Final Orders (I) Authorizing
           the Debtors to Obtain Postpetition Financing, (II) Authorizing
           Use of Cash Collateral and Affording Adequate Protection; (III)
           Granting Liens and Providing Superpriority Administrative       7/10/20 @ 12:00 pm
           Expense Status; (IV) Modifying Automatic Stay; and (V)
           Granting Related Relief [Docket No. 28]

      9.   Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a) and
           521(a)(1)(b) and Fed. R. Bankr. P. 1007(c) for Entry of an
           Order Extending Time to File Their Schedules of Assets and      7/10/20 @ 12:00 pm
           Liabilities and Statements of Financial Affairs [Docket No. 10]

      10. Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b), and
          503(b) for Interim and Final Authority to (I) Maintain, Renew,
          and Continue Their Insurance Policies and Programs and           7/10/12 @ 12:00 pm
          (II) Honor All Insurance Obligations [Docket No. 24]




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                                                                                 Hearing Date and
                                     Motion
                                                                                      Time
      11. Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363(b), 365
          and 507(a) for Interim and Final Authority to (I) Maintain and
          Administer Pre-Petition Customer Programs, Promotions, and
          Practices, as Modified, (II) Pay and Honor Related Pre-Petition 7/10/20 @ 12:00 pm
          Obligations, and (III) Direct the Credit Card Processors to
          Honor the Debtors’ Credit Card Processing Agreement Pending
          Its Assumption or Rejection [Docket No. 25]

      12. Debtors’ Motion for Entry of Interim and Final Orders (I)
          Authorizing the Debtors to Pay Certain Prepetition Claims of
          Trade Claimants, (II) Confirming Administrative Expense
                                                                               7/10/20 @ 12:00 pm
          Priority of Outstanding Orders, and (III) Granting Related
          Relief [Docket No. 26]

      13. Debtors’ Motion for Entry of Interim and Final Orders (I)
          Authorizing the Debtors to Assume the Consultant Agreement,
          (II) Approving Procedures for Store Closing Sales, and (III)
          Approving the Implementation of Customary Store Bonus        7/10/20 @ 12:00 pm
          Program and Payments to Non-Insiders Thereunder [Docket No.
          6]

      14. Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a) and 521, and
          Fed. R. Bankr. P. 1007(a) and 2002(a) and (f), For Entry of an
          Order Authorizing the Debtors to (A) Prepare a List of Creditors
          in Lieu of a Formatted Mailing Matrix, (B) File a Consolidated
          List of the Debtors’ 20 Largest Unsecured Creditors, (C) Redact 7/10/20@ 12:00 pm
          Certain Personal Identification Information and (D) Mail Initial
          Notices [Docket No. 12]

      15. Debtors’ Motion for Entry of an Order Authorizing and
          Approving Procedures for Rejection of Executory Contracts and
                                                                        7/10/20 @ 12:00 pm
          Unexpired Leases [Docket No. 5]


         3.       A true copy of this Order shall be served on all required parties pursuant to D.N.J.

LBR 9013-5(f).


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         4.       Objections and/or responses to the Motions, if any, may be made at the hearing

pursuant to D.N.J. LBR 9013-5(d).

         5.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation, and/or enforcement of this Order.




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